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                         UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


  UNITED STATES OF AMERICA,                         5:22-CR-50020-KES-01

                    Plaintiff,
                                                             ORDER
        vs.

  SAM BOYD,

                    Defendant.


       Defendant, Sam Boyd, moves to dismiss the indictment in this matter,

 alleging he was deprived of his right to a speedy trial. Docket 163. The United

 States opposes the motion. Docket 169.

                            FACTUAL BACKGROUND

       On January 26, 2022, the Government filed a complaint against Boyd.

 Docket 1. Boyd made an initial appearance on the complaint February 2, 2022.

 Docket 6. Following Boyd’s initial appearance, the court issued a scheduling

 and case management order, and set a trial date of April 12, 2022. Id. The

 Government filed an indictment on February 8, 2022, charging Boyd with

 conspiracy to distribute 500 grams or more of a controlled substance

 (methamphetamine) in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)

 and two counts of Prohibited Person in Possession of Firearm and Ammunition

 in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). Docket 14. In this same




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 indictment, the Government charged Alexandria Warner with one count of

 Conspiracy to Distribute a Controlled Substance in violation of 21 U.S.C.

 §§ 846, 841(a)(1) and 841(b)(1)(A). Id. Warner entered an initial appearance on

 February 16, 2022. Docket 20. Because of Warner’s initial appearance, on

 February 17, 2023, the court entered an amended scheduling and case

 management order, setting a trial date of April 26, 2022, for both defendants.

 Docket 26.

       On March 23, 2022, Boyd filed a motion for new CJA counsel. Docket 34.

 On March 25, 2022, Magistrate Judge Wollmann held a hearing and denied

 Boyd’s motion for new counsel. Dockets 35, 38.

       On March 25, 2022, Boyd’s codefendant, Warner, 1 moved for a ninety-

 day continuance “to allow the parties to complete its investigation and prepare

 its defense.” Docket 36. Boyd objected to Warner’s motion. Docket 39. On April

 5, 2022, the court granted the continuance motion and set the trial to

 commence on July 19, 2022. Docket 44. In this order, the court found that the

 “ends of justice served by continuing this trial outweigh[ed] the best interests of

 the public and the defendants in a speedy trial.” Id. The court did not

 elaborate. Id.

       On July 9, 2022, Boyd filed a motion for a 120-day continuance. Docket

 71. The motion states “Defendant Boyd and his undersigned attorney

 discussed the needs for continuing the current trial date and all related



 1 Warner pleaded guilty on June 17, 2022, and was sentenced on September

 13, 2022. Dockets 61, 100.
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 scheduling deadlines. Defendant Boyd is not willing to waive his speedy trial

 right and he objects to the undersigned filing this continuance request.” Id. at

 3. On July 13, 2022, the court granted Boyd’s motion, finding that “the ends of

 justice served by continuing this trial outweigh the best interests of the public

 and the defendant in a speedy trial insofar as defense counsel has made known

 to the court that additional time is needed to review voluminous discovery, to

 obtain an investigator and for plea negotiations.” Docket 73. The court set the

 trial to start on November 29, 2022. Id.

       On November 7, 2022, Boyd filed a motion to suppress evidence and

 dismiss his indictment. Dockets 104, 105. That same day, on November 7,

 2022, the court entered an order stating “[b]ased on the ends of justice and 18

 U.S.C. § 3161(h)(7), the deadlines and trial date are canceled pending

 resolution of 105 Motion to Suppress and 104 Motion to Dismiss.” Docket 106.

 After holding an evidentiary hearing and considering multiple rounds of

 briefings by the parties, Magistrate Judge Wollmann issued a report and

 recommendation denying Boyd’s motion to suppress and to dismiss his

 indictment on June 2, 2023. See Dockets 107, 121, 132, 134, 141, 152, 155.

 The district court adopted the report and recommendation on August 24, 2023.

 Docket 159.

       On August 24, 203, the case was reassigned to Judge Schreier. Docket

 160. On September 8, 2023, the court set the case for a jury trial to commence

 on October 16, 2023. Docket 161. On September 14, 2023, Boyd moved to




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 continue the trial date due to the parties being “engaged in continuous plea

 negotiations.” Docket 162.

       On September 21, 2023, Boyd filed the instant motion. Docket 163. On

 September 22, 2023, Boyd filed a motion to withdraw his motion to continue at

 Docket 162, stating Boyd “does not consent to [a] continuance. Upon further

 discussion with client, both Defendant and counsel are prepared to proceed to

 trial.” Docket 165. On September 22, 2023, the United States filed a motion for

 a continuance. Docket 166. The court granted Boyd’s motion to continue

 (Docket 162), denied Boyd’s motion to withdraw (Docket 165), and granted in

 part and denied in part the United States’ motion to continue (Docket 166).

 Docket 167. The jury trial is set for October 31, 2023. Id.

                                   DISCUSSION

 I. Speedy Trial Act

       “Under the Speedy Trial Act, a defendant must be brought to trial within

 70 days of his indictment or first appearance, whichever is later.” United States

 v. Mallett, 751 F.3d 907, 910-11 (8th Cir. 2014) (quoting United States v.

 Suarez-Perez, 484 F.3d 537, 540 (8th Cir. 2007)); see also 18 U.S.C.

 § 3161(c)(1). The addition of a newly indicted co-defendant resets an original

 defendant’s speedy trial clock. See United States v. Flores-Lagonas, 993 F.3d

 550, 566 (8th Cir. 2021). The Eighth Circuit explained:

       Pursuant to § 3161(h)(7), when a newly indicted . . . defendant is
       joined with a defendant whose speedy trial clock has already started
       running, the latter defendant’s speedy trial clock will be reset so that
       it reflects the speedy trial clock of the newly added codefendant.
       Thereafter, all of the defendants are subject to one controlling


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       speedy trial clock and any time periods excluded from the speedy
       trial calculations for one defendant will be applicable to the other
       defendants.

 Id. (quoting United States v. Lightfoot, 483 F.3d 876, 885–86 (8th Cir. 2007)).

       When conducting a defendant’s speedy trial calculation, the court

 excludes certain days from the calculation. United States v. Aldaco, 477 F.3d

 1008, 1016 (8th Cir. 2007); 18 U.S.C. § 3161(h). Under 18 U.S.C.

 § 3161(h)(1)(D), delay from “any pretrial motion, from the filing of the motion

 through the conclusion of the hearing on, or other prompt disposition of, such

 motion…” is not considered in calculating speedy trial. See also United States v.

 Williams, 557 F.3d 943, 952 (8th Cir. 2009) (“[E]very motion filed by a

 defendant, whether or not it is frivolous and whether or not he is represented

 at the time of filing, tolls the speedy trial clock.”). This rule also extends to any

 motions filed by a codefendant. See United States v. Fuller, 942 F.2d 454, 457

 (8th Cir. 1991) (“Motions filed by one defendant in a multi-defendant case

 count as motions filed by all of the defendants, and the reasonable time taken

 to determine those motions will count as excludable time for all defendants.”);

 see also United States v. Shepard, 462 F.3d 847, 864 (8th Cir. 2006).

       Section 3161(h)(7)(A) of the Speedy Trial Act also excludes

       [a]ny period of delay resulting from a continuance granted by any
       judge on his own motion or at the request of the defendant or his
       counsel or at the request of the attorney for the Government, if the
       judge granted such continuance on the basis of his findings that the
       ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial.

 18 U.S.C. § 3161(h)(7)(A). This section further provides:



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       No such period of delay resulting from a continuance granted by
       the court in accordance with this paragraph shall be excludable
       under this subsection unless the court sets forth, in the record of
       the case, either orally or in writing, its reasons for finding that the
       ends of justice served by the granting of such continuance
       outweigh the best interests of the public and the defendant in a
       speedy trial.

 Id. Further, “any time periods excluded from the speedy trial calculations

 for one defendant will be applicable to the other defendants.” Lightfoot,

 483 F.3d at 886; 18 U.S.C. § 3161(h)(6).

       “After these days are excluded, if the total number of nonexcludable days

 exceeds seventy, then the district court must dismiss the indictment upon the

 defendant’s motion.” Aldaco, 477 F.3d at 1016-17 (citations omitted). “The

 defendant has the burden of proof to support the motion, with the exception of

 the exclusion of time under 18 U.S.C. § 3161(h)(3) concerning the

 unavailability of the defendant or an essential witness.” Id. at 1017 (citing 18

 U.S.C. § 3162(a)(2)).

       The court first turns to when Boyd’s speedy trial clock began ticking. On

 February 2, 2023, Boyd made his first appearance on the Government’s

 complaint. Docket 6. On February 8, 2023, the Government filed an indictment

 against Boyd and Warner. Docket 14. According to Boyd, his clock started on

 February 8, 2022, because that is the later date of his indictment or first

 appearance. See Docket 164 at 2. But Boyd’s co-defendant, Warner, was

 indicted on February 8, 2022, and made her (Warner’s) first appearance on

 February 16, 2022. Dockets 14, 20. Thus, because Warner’s speedy trial clock

 began on February 16, 2022, Boyd’s speedy trial clock was reset on February

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 16, 2022. See 18 U.S.C. § 3161(h)(7); Flores-Lagonas, 993 F.3d at 566. The

 court rejects Boyd’s first argument.

       Between February 17, 2022, and March 22, 2022, inclusive, no

 excludable events occurred and thus thirty-four days accrued on Boyd’s speedy

 trial clock. On March 23, 2022, Boyd filed a motion for new CJA counsel

 (Docket 34), tolling the speedy trial clock. 2 See 18 U.S.C. § 3161(h)(1)(D);

 Williams, 557 F.3d at 951-52. Two days later, on March 25, 2022, Magistrate

 Judge Wollmann held a hearing and denied Boyd’s motion. Dockets 35, 38. On

 that same day, March 25, 2022, Warner filed a motion to continue the trial

 date for ninety days. Dockets 36, 37. This motion continued to toll the speedy

 trial clock, because no dates had elapsed since the resolution of Boyd’s motion

 for new counsel and motion to continue. See 18 U.S.C. § 3161(h)(7)(A).

       On April 5, 2022, the court granted the continuance, finding that the

 ends of justice served by continuing this trial outweighed the best interests of

 the public and the defendants in a speedy trial. Docket 44. This order does not

 specify the reasons for finding the ends of justice served by the granting of

 such continuance outweigh the best interests of the public and the defendants

 in a speedy trial, as is required under 18 U.S.C. § 3161(h)(7)(A). See United

 States v. Johnson, 990 F.3d 661, 667 (8th Cir. 2021). But looking at Warner’s

 continuance motion, it is apparent that the court allowed the parties additional




 2 Under Federal Rule of Criminal Procedure 45(a)(1)(A) the day of the event that

 triggers the period is excluded. Furthermore, the day a motion is filed is
 “excludable delay.” United States v. Moses, 15 F.3d 774, 777 (8th Cir. 1994).
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 time to complete their investigation and prepare their defense. Docket 36.

 Thus, the court finds that the ends of justice served by continuing the trial

 until July 19, 2022 outweighed the best interest of the public and the

 defendants in a speedy trial because the parties needed additional time to

 investigate and prepare their defense. See Zedner v. United States, 547 U.S.

 489, 507 (2006) (requiring only that the required specific ends of justice

 reasons be put “on the record by the time a district court rules on a

 defendant’s motion to dismiss under § 3162(a)(2).”); United States v. Adejumo,

 772 F.3d 513, 522 (8th Cir. 2014) (“[W]e have previously held that the district

 court is not required to make a contemporaneous record of its ends-of-justice

 findings.”). Because this continuance resulted in a trial date of July 19, 2022,

 the speedy trial clock was tolled until July 19, 2022. See 18 U.S.C. §

 3161(h)(7)(A).

       On April 5, 2022, the Government filed a motion for a trial date certain,

 stating that the attorneys’ schedules did not allow for a trial to be held on July

 19, 2022, and Warner joined in this motion on April 28, 2022. See Dockets 45,

 46. After talking with the parties, the court granted both motions on May 25,

 2022, finding “that the ends of justice served by continuing the trial outweigh[]

 the best interests of the public and the defendants in a speedy trial.” Docket

 47. The court did not explicitly state its reasoning for making the finding at

 that time, but the court now finds that the ends of justice served by continuing

 the trial outweighed the best interests of the public and defendants because

 both the Government’s attorneys and Warner’s counsel were unavailable for a


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 July 19, 2022 trial date. See Dockets 45, 46. The court’s May 25, 2022, order

 continued the trial date until August 2, 2022. Docket 47.

       On July 9, 2022, 3 Boyd filed a motion for a 120-day continuance. Docket

 71. On July 13, 2022, the court granted Boyd’s continuance motion because

 the court found that the ends of justice served by continuing the trial

 outweighed the best interest of the public and defendant in a speedy trial

 because defense counsel needed additional time to review discovery and obtain

 an investigator. See Docket 73. Additionally, the court wished to give the

 parties additional time for plea negotiations. Id. Thus, the court continued the

 trial until November 29, 2022. Id. This continuance tolled his speedy trial clock

 until November 29, 2022. See 18 U.S.C. § 3161(h)(7)(A).

       On November 7, 2022, 4 Boyd filed a motion to dismiss the indictment

 and a motion to suppress evidence. See Dockets 104, 105. That same day, the



 3 Between May 25, 2022 and July 9, 2022, Boyd and the Government filed a

 variety of motions, all independently triggering a tolling of Boyd’s speedy trial
 clock for various amounts of days. See, e.g., Dockets 40, 43, 48, 56, 67; 18
 U.S.C. § 3161(h)(1)(D). None of these motions, however, impact the end result
 under the Speedy Trial Act and thus the court need not discuss the specifics.


 4 Between July 9, 2022, and November 7, 2022, Boyd filed a variety of motions,

 all independently triggering a tolling of Boyd’s speedy trial clock for various
 amounts of days. See, e.g., Dockets 76-78, 102; 18 U.S.C. § 3161(h)(1)(D). None
 of these motions, however, impact the end result under the Speedy Trial Act
 and thus the court need not discuss the specifics. Additionally, the court
 appears to have sua sponte issued a new scheduling order on September 30,
 2022, without having clearly listed a reason for doing so other than noting that
 it communicated with the parties. See Docket 101. This September 30, 2022
 scheduling order does not affect the analysis and thus the court need not
 consider it.

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  court ordered an open-ended and sua sponte continuance because it found

  that the ends of justice served by continuing the trial outweighed the best

  interest of the public and the defendant in a speedy trial to allow for the

  defendants’ pending motions to be resolved. See Docket 106. See also United

  States v. Twitty, 107 F.3d 1482, 1489 (11th Cir. 1997) (“An open-ended

  continuance may be granted to serve the ends of justice.”); United States v.

  Wilson, 216 F. Supp. 3d 566, 580 (E.D. Pa. 2016) (“The [‘ends of justice’]

  continuance can be open-ended, rather than for a specific period of time, but it

  must be . . . granted prior to the days being excluded.”); United States v.

  Santiago-Becerril, 130 F.3d 11, 18 (1st Cir. 1997) (“Open-ended continuances

  are not prohibited per se.”).

        Some courts permitting open-ended continuances require the durations

  to be “reasonable.” See, e.g., United States v. Clark, 717 F.3d 790, 823 (10th

  Cir. 2013). In the Eleventh Circuit, however, “[i]f the trial court determines that

  the ‘ends of justice’ require the grant of a continuance, and makes the required

  findings, any period of delay is excludable under [the Act.]” Twitty, 107 F.3d at

  1489 (emphasis in original); United States v. Hill, 487 Fed. Appx. 560, 562

  (11th Cir. 2012) (citing this holding from Twitty). The text of the statute mirrors

  the Eleventh Circuit’s reasoning, providing for the exclusion of “[a]ny period of

  delay resulting from a continuance granted by any judge on his own motion . . .

  if the judge granted such continuance on the basis of his findings that the ends

  of justice” are served. 18 U.S.C. § 3161(h)(7)(A).




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        Here, the court adequately stated in its November 7, 2022, continuance

  order why it found that the ends of justice outweighed the interests of the

  public and defendant in a speedy trial because it found it necessary to allow for

  the defendant’s pending motions to be resolved. Docket 106. The fact that

  months lapsed between the filing of Boyd’s motions and entry of the court’s

  order does not change the analysis under the Speedy Trial Act. See Twitty, 107

  F.3d at 1489 (“If the trial court determines that the ‘ends of justice’ require the

  grant of a continuance, and makes the required findings, any period of delay is

  excludable under [the Speedy Trial Act.]”) (emphasis in original). Even if the

  Speedy Trial Act requires the open-ended continuance to be reasonable in

  duration, the court concludes the resulting exclusion of days is reasonable

  based on the findings above. See United States v. Green, 516 Fed. Appx. 113,

  122-23 (3d Cir. 2013) (permitting a 16-month open-ended continuance). Thus,

  the November 7, 2023 open-ended continuance order started a period of

  excludable time under the Speedy Trial Act. See Twitty, 107 F.3d at 1489.

        In addition to challenging the court’s calculated start date, Boyd also

  argues that some of the time spent resolving Boyd’s motion to dismiss the

  indictment and suppress evidence (Dockets 104 and 105) must be added to his

  speedy trial clock. See Docket 164 at 3. In support, Boyd cites 18 U.S.C.

  § 3161(h)(1)(H). 5 See id. 18 U.S.C. § 3161(h)(1)(H) provides that any “delay



  5 Boyd actually cites18 U.S.C. § 3162(h)(1)(H), but this is not a valid statute.

  The court construes Boyd’s argument as referring to 18 U.S.C. § 3161(h)(1)(H)
  instead. 18 U.S.C. §3161(h)(1)(H) provides that any “delay reasonably
  attributable to any period, not to exceed thirty days, during which any
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  reasonably attributable to any period, not to exceed thirty days, during which

  any proceeding concerning the defendant is actually under advisement by the

  court” shall be excluded in computing the time within which the trial of any

  such offense must commence. Boyd then highlights that his objections to the

  Report and Recommendation were pending from June 17, 2023 until August

  24, 2023. See id. Thus, according to Boyd, the court must add thirty-nine days

  (after excluding thirty) to his speedy trial clock. Id.

        Boyd’s reliance on 18 U.S.C. § 3161(h)(1)(H) is misplaced. “The only time

  subsection H comes into play is when the speedy trial clock is running.” United

  States v. Massat, 2016 WL 4098566, at *3 (D.S.D. July 28, 2016). But as

  discussed above, the entire period of time between November 7, 2022 and

  August 24, 2023 was tolled because of the court’s sua sponte open-ended

  continuance order on November 7, 2022. See Docket 106. The court’s

  resolution of Boyd’s objections to Magistrate Judge Wollmann’s report and

  recommendation “were filed during a period the speedy trial clock was

  stopped.” Massat, 2016 WL 4098566, at *3. Thus, 18 U.S.C. § 3161(h)(1)(H) is

  inapplicable. The entire time between November 7, 2022 and August 2023 was

  tolled, and none of the days between that period count towards Boyd’s speedy

  trial clock.




  proceeding concerning the defendant is actually under advisement by the
  court” shall be excluded in computing the time within which the trial of any
  such offense must commence.
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        On August 24, 2023, the court adopted Magistrate Judge Wollmann’s

  report and recommendation on Boyd’s pending motions. See Docket 159. The

  speedy trial clock began running on August 25, 2023. Between August 25,

  2023 until September 13, 2023, inclusive, no excludable events occurred and

  thus twenty additional days accrued on Boyd’s speedy trial clock.

        On September 14, 2023, Boyd moved for a continuance, tolling the

  speedy trial clock. See Docket 162; 18 U.S.C. § 3161(h)(1)(D). On September

  21, 2023, Boyd filed the instant motion to dismiss for violation of speedy trial.

  Docket 163. On September 22, 2022, Boyd moved to withdraw his September

  14, 2023 continuance motion. Docket 165. That same day, the Government

  moved to continue the trial. Docket 166. The court granted Boyd’s motion to

  continue, denied Boyd’s motion to withdraw, and granted in part and denied in

  part the Government’s continuance motion. See Docket 167. In doing so, the

  court found “that the ends of justice served by continuing the trial for two

  weeks outweighs the best interest of the public and the defendant in a speedy

  trial because it allows the parties more time to be prepared for trial. See 18

  U.S.C. § 3161(h)(7)(A).” Id. The order set trial to commence on October 31,

  2023, meaning the speedy trial clock is tolled until then. See id.

        In summary, the total number of non-excluded days on Boyd’s speedy

  trial clock is fifty-four days: thirty-four days (between February 17, 2022 and

  March 22, 2022, inclusive) and twenty-days (between August 25, 2023 and

  September 13, 2023, inclusive). Thus, Boyd has failed to meet his burden to

  prove a speedy trial violation under the Speedy Trial Act. Adejumo, 772 F.3d at

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  521. The court denies his motion to dismiss based on his Speedy Trial Right

  claim.

  II. Sixth Amendment Right to a Speedy Trial

           Boyd does not raise a Sixth Amendment challenge and instead only

  argues that his Speedy Trial Act rights were violated. See Dockets 163-64.

  Absent an extraordinary and obvious violation, the court will not consider an

  independent Sixth Amendment argument without the benefit of the parties’

  briefings. See Johnson, 990 F.3d at 666-71 (analyzing a Speedy Trial Act and

  Sixth Amendment argument separately). Furthermore, “[i]t would be unusual

  to find the Sixth Amendment has been violated when the Speedy Trial Act has

  not.” United States v. Titlbach, 339 F.3d 692, 699 (8th Cir. 2003). The court

  declines to address whether the defendant’s Sixth Amendment right was

  violated.

                                     CONCLUSION

           Based on the above analysis, it is hereby

           ORDERED that Boyd’s motion to dismiss (Docket 163) is denied. Trial

  remains scheduled for October 31, 2023.

           Dated October 10, 2023.

                                   BY THE COURT:

                                   /s/ Karen E. Schreier
                                   KAREN E. SCHREIER
                                   UNITED STATES DISTRICT JUDGE




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